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CHASE &

Court Orders and Levies
RCO Centralized Mail
Mail Code: LA4-7200

700 Kansas Lane

FILED Monroe, LA 71203-4774
FEB 02 2022,

THOMAS G. BRUTON

IL- US DISTRICT COURT
219 § DEARBORN STREET CLERK, U.S. DISTRICT COURT

CHICAGO, IL 60604
RE: ZHU ZHAI HOLDINGS LIMITED ET AL v. STEVEN IVANKOVICH Case No.: 20CV4985, IL - US DISTRICT COURT

JPMorgan Chase Bank, N.A. is in receipt of your CITATION TO DISCOVER ASSETS against the following debtor(s):
STEVEN IVANKOVICH

Memo: No Deposit Accounts

Answers

Did you have in your possession, [NO
custody or control any personal
property or monies belonging to the

judgment debtor? 7
Is this an IRA account or are all NO

funds in the account(s) exempt

funds?

Is/are the account(s) current Not Applicable

balance equal to or less than the
total of the exempt deposits?

List all electronic deposits into Not Applicable
account(s) and their source(s):

List adverse claims Not Applicable
signature s/ Lucia P Vela

These responses are based upon a search of data contained in JPMorgan Chase Bank, N.A’s centralized customer identification and account information
system. That system may not necessarily capture all relevant information concerning the judgment debtor(s) or accounts.

Please allow this letter to serve as JPMorgan Chase Bank, N.A's answer to the CITATION TO DISCOVER ASSETS. If you should have any questions
regarding this matter, please contact JPMorgan Chase Bank, N.A. at 1-866-578-7022.

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Sincerely,

Lucia P Vela
Transactions Specialist Ill

JPMorgan Chase Bank, N.A.

Date: Friday, Jan 21, 2022

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